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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )             CASE NO. 8:08CR53
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )             TENTATIVE FINDINGS
                                              )
PATRICIA LYNN JOHNSON,                        )
                                              )
              Defendant.                      )

       The Court has received the Revised Modified Presentence Investigation Report

(“PSR”) and the Defendant’s objections thereto (Filing No. 91). The government did not

file formal objections, however according to the Addendum the government initially objected

to the probation officer. See Order on Sentencing Schedule, ¶ 6. The Court advises the

parties that these Tentative Findings are issued with the understanding that, pursuant to

United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

       The plea agreement reached under Federal Rule of Criminal Procedure 11(c)(1)(C)

is for a sentence of 5 years probation. The plea agreement does not address guideline

issues. The PSR applies a 4-level upward enhancement for an aggravating role in the

offense, and this adjustment precludes a sentence under the plea agreement if the advisory

guidelines are strictly applied. The parties’ arguments have been considered, and the

Defendant’s objections are granted. The total offense level is 7.

       IT IS ORDERED:

       1.     The Defendant’s Objections to the Presentence Investigation Report (Filing

No. 91) are granted;

       2.     Otherwise the Court’s tentative findings are that the Presentence Investigation

Report is correct in all respects;
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       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 28th day of January, 2009.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          United States District Judge




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